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        Exhibit 2
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BSFI
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                                                                  June 29, 2018


BY FEDERAL EXPRESS


Derek S. Coppola
Case Administrator
Northeast Case Management Center
American Arbitration Association
1301 Atwood Avenue, Suite 21 IN
Johnston, RI 02919


       Re:        Spencer Meyer v. Uber Technologies,
                  Case No. 01-18-0002-1956


Dear Mr. Coppola:

         This firm represents Respondent Uber Technologies, Inc., in the above-referenced
arbitration. We are enclosing a check in the amount of $250 as payment of the fee under the
Consumer Arbitration Rules for a list of five panelists from the national roster of AAA
arbitrators. As provided in the parties' arbitration agreement, we request that the list be
comprised of retired California judges or attorneys licensed to practice in California, and that
they be willing to conduct the arbitration in New York City.

        Uber further requests panelists experienced with antitrust law. Claimant's only allegation
is a novel antitrust claim—that all of the hundreds of thousands of independent drivers using the
Uber App in the United States entered into a single agreement to fix prices when using the Uber
App. Claimant further seeks to shut down Uber's App—an app that has been used billions of
times by millions of users. To resolve this substantial antitrust matter, the arbitrator will need
facility with antitrust principles, including the distinctions between vertical and horizontal actors
and the application of the rule of reason, as well as the experience to assess whether the users of
Uber's App adversely impacted any definable market. If helpful, we are happy to work with you
and claimant's counsel to identify individuals on or off the national roster who have antitrust
experience.

        Lastly, the parties' arbitration agreement requires the parties to try to agree on the
arbitrator. The parties have agreed to extend their time to select an arbitrator until at least one
week from the time the parties receive the list of five potential panelists. Once we receive the
list, we will send you the deadline by which the parties will attempt to agree upon an arbitrator.

                                                                  Very truly yours,




                                                                                                                7*0
                                                                  Peter M. Skinner

cc:     Claimant's Counsel
        (by email)


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